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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



 DANIEL R. RONEY, SR.,

                    Plaintiff,                       Case No. 8:21-cv-01725-MSS-CPT
         v.

 ENHANCED RECOVERY
 COMPANY, LLC,

                    Defendant.



       JOINT MOTION TO EXTEND DEADLINE TO COMPLETE MEDIATION

       Plaintiff, Daniel R. Roney, Sr., and Defendant, Enhanced Recovery Company, LLC, jointly

move this Court for an order allowing the parties to extend the deadline to complete mediation and

state as follows:

       1.      On November 5, 2021, this Court entered its Case Management and Scheduling

       Order [Dkt. No. 10], ordering the parties to Mediate on or before February 2, 2022.

       2.      Due to scheduling conflicts with mediator Chris Griffin’s availability, the parties

       respectfully request that the deadline to complete mediation be extended to February 15,

       2022.

       WHEREFORE, the Parties request this Court to enter an order allowing the Parties to

conduct mediation on February 15, 2022.


Dated: November 22, 2021                                    Respectfully Submitted,

/s/ Alejandro E. Figueroa                                   /s/ Richard D. Rivera
Alejandro E. Figueroa (#1021163)                            Richard D. Rivera (#108251)
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                                  CERTIFICATE OF SERVICE


          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                              /s/ Alejandro E. Figueroa
                                                              Alejandro E. Figueroa




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